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                     Exhibit 12
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                              CERTIFICATE OF TRANSLATION


I, Bingjie Liu, an attorney licensed in the State of New York (United States) and a court-certified

interpreter of the State Court of the State of New York, am competent to translate from Chinese

into English, and certify that the translation of documents attached to this certificate is true and

accurate to the best of my abilities.




_________________________

Bingjie Liu



Date: 6/22/2023
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                              Arbitration Award




                                  CIETAC
        China International Economic and Trade Arbitration Commission
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               China International Economic and Trade Arbitration Commission
                                       Arbitration Awad




Claimant: NetQin Infinity (Beijing) Technology Co., Ltd.,
Registration Address: Beijing City Haidian District Northeast Wangxi Road No. 8 Yuan,
Building No.4, Floor 3, Room 317.
Address:     Beijing City Haidian District, North Three West Road No. 31, Building 23, Floor
1, Room 121.
Arbitration Representative:
Chao Yang, Hanwen Zhang Beijing Anjie Law Firm
Xinjian Wang, Yiyun Xin, Beijing Tianchijuntai Law Firm
Xi Yang       NetQin Infinity (Beijing) Technology Co., Ltd


Respondent:   Lingyun Guo (ID number                          )
Address:
Arbitration Representative:   Zeyun Zhang Beijing Dadi Law Firm




                                            Beijing
                                       October 16, 2019
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                                               Award
                                                        (2019) CIETAC No. 1480


China International Economic and Trade Arbitration Commission (hereinafter CIETAC) in
according to the Amended and Restated Share Deposit Agreement entered between the Claimant
NetQin Infinity (Beijing) Technology Co., Ltd (hereinafter Claimant) and respondent Lingyun Guo
(Respondent) and non-party, Xu Zhou, Wenyong Shi, Beijing NetQin Tianxia Technology Co., Ltd,
and Claimant’s application for arbitration dated October 12, 2019, accepted the dispute between
the Claimant and Respondent. The case number is DS20181332.
This case applies to the arbitration procedure rules that adopted on January 1, 2015, the CIETAC
Arbitration Rules (hereinafter referred to as CIETAC Rules). Considering there is no involvement
of any foreign party or dispute, according to Article 65 of CEITAC Rules, this proceeding apples
the “special rules for the domestic arbitration” that are indicated in Chapter 5 of CEITAC Rules.
In the event there is no special requirement under this chapter, will apply other general CIETAC
rules.
On October 26, 2018, the Arbitration Commission sent the Notice of Arbitration, the CEITAC
Rules and the Roster of Arbitrators of this case to the Claimant and the Respondent respectively
by express delivery, and mailed the Arbitration Application and attachments submitted by the
Claimant to the Respondent.
The claimant selected Mr. Zefeng Lu as the arbitrator. The respondent selected Mr. Chongmiao Xu
as the arbitrator. Since the parties failed to jointly select or jointly appoint the Chairman of the
Arbitration Commission to appoint the chief arbitrator within the prescribed period, the Arbitration
Commission appointed Mr. Ligeng Kou as the chief arbitrator of the case in accordance with the
CEITAC Rules. The three aforementioned arbitrators constituted the Arbitration Tribunal on
December 17, 2018 to hear the case after signing the declaration of receipt of the appointment.
The arbitrators served the notice of the establishment of the arbitral tribunal and the declaration on
the parties by express delivery on December 17, 2018. After deliberations of the arbitrators, it was
decided that the case would be heard in Beijing on March 1, 2019. The arbitrator served the parties
with a notice of hearing by express delivery on January 11, 2019.
On March 1, 2019, the arbitral tribunal held the hearing of the case in Beijing as scheduled. The
Claimant and the Respondent submitted additional evidence and attachments. The arbitrator
forwarded the said materials to the Claimant. At the hearing, the claimant presented its request for
arbitration, and the facts and reasons on which it was based, and the respondent presented her
defenses. The Claimant presented the original evidence, and the Respondent cross-examined the
evidence. Both parties answered the questions of the tribunal. Both parties agreed to cross-examine
all the evidence submitted after the hearing in the form of written comments.
On August 27, 2019, the Claimant submitted a Statement of Claim for Change of Arbitration and
attachments. Considering that the Claimant did not need to pay additional fees, the Arbitration
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Tribunal decided to accept the Claimant's request for change of arbitration and requested the
Respondent to submit its defense within the prescribed period.
In September 2019, the parties jointly signed and submitted the Statement of Claim and the
accompanying Arbitration Settlement Agreement. In accordance with the application of the parties
and the provisions of Article 47 of the Arbitration Rules, the Arbitration Tribunal makes this award
based on the settlement agreement reached by the parties.
After the request of the Arbitration Tribunal, the President of the Arbitration Court agreed and
decided to extend the deadline for making the award in this case until October 17, 2019.
The arbitration documents, in this case, have been validly served on both parties in accordance
with Article 8 of the CEITAC Rules.
The facts of the case, the content of the settlement agreement between the parties, the opinion of
the arbitral tribunal, and the result of the award are described as follows：

One    Facts


1.     Claimant's Request for Arbitration and Claims
In November 2015, the Respondent and the Claimant signed numerous agreements under the VIE
structure. According to the VIE agreements, the Respondent pledged its 52% equity interest in
Beijing NetQin Tianxi Technology Co., Ltd (hereinafter referred to as NetQin Tianxi) (equity
amount: RMB 26 million, hereinafter referred to as pledged equity interest) to the Claimant, and
the parties have registered the pledge of equity interest with the Beijing Industrial and Commercial
Bureau in relation to the aforesaid pledge of equity interest. In addition, according to the VIE
agreement in the Amended and Restated Share Deposit Agreement, the Claimant has an exclusive
option to purchase the entire equity interest held by the Respondent in NetQin Tianxia (i.e. 52%)
at any time.
On September 30, 2018, the Claimant issued a notice of exercise of rights to the Respondent in
accordance with the VIE Agreements, notifying the Respondent about the Claimant’s decision that
it had exercised its right to acquire all of the equity interests held by the Respondent in NetQin
Tianxia, and requesting the Respondent to cooperate in signing all legal documents such as the
corresponding equity transfer agreement, shareholders' meeting resolution and industrial and
commercial changes within 10 working days after receiving the notice. The notice was delivered
and served on the Respondent by EMS on October 1, 2018.
On October 9, 2018, the Claimant’s legal representative, Xu Zemin's email address
(xuzemin@nq.com), received a response from the Respondent regarding the notice, in which the
respondent expressly refused to cooperate with the Claimant in exercising its option to acquire the
equity interest.
The Claimant’s request for arbitration is as follows;
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   1. the Respondent to fulfill its obligations under the VIE agreement and unconditionally
      cooperate with fold you to which person to sign a full set of legal documents relating to the
      transfer of 52% of the equity interest held by the Respondent in NetQin Tianxia to the
      Claimant, including but not limited to resolutions of shareholders' meetings, equity transfer
      agreements and other documents necessary for industrial and commercial change
      registration
   2. The RRespondent bears the arbitration fee, attorney's fee, and notary fee of this case
On August 27, 2019, the Claimant submitted a Request for Change of Request for Arbitration to
change the Request for Arbitration as follows:
The Respondent cooperated with the transfer of industrial and commercial changes in accordance
with the equity transfer agreement signed between the Respondent and Guo Lilin (ID No.
                     ), a third party designated by the Claimant.
   1) Respondent's opinion
The Respondent considered that the Claimant’s request for the Respondent to transfer the
Respondent's equity interest in NetQin Tianxia held by the Respondent and sign the document in
accordance with the Notice of Exercise of Rights by the deadline had no factual and legal basis.
This case is an arbitration initiated by Wenyong Shi, Chairman of NQ Mobile Inc (later renamed
Link Motion Inc. the LKM), an overseas listed company, to completely seize the control of LKM
and manipulate the claimant.


1.      The purpose of the VIE agreements related to this case is to achieve an overseas listing of
the domestic company, NetQin Tianxia. For this purpose, the shareholders of LKM, Yu Lin,
Wenyong Shi and Xu Zhou, hold the same percentage of shares in RPL as they do in NetQin
Tianxia, all of which are 52%, 33.25% and 14.75%, with Yu Lin being the sole director of RPL
and signing documents and issuing resolutions on behalf of RPL. RPL established LKM and LKM
set up a wholly-owned subsidiary in Hong Kong, LKM International Limited, which is the parent
company holding 100% of the Claimant’s equity. The Claimant will then enter into an exclusive
agency agreement with NetQin Tianxia and transfer all of NetQin Tianxia’s profits to the Claimant,
which will then be incorporated into LKM's financial statements to achieve the listing of NetQin
Tianxia overseas.
Since RPL holds 56.1% of the voting rights of the listed company LKM, Yu Lin is the largest
shareholder and the effective controller of LKM. According to the agreement of the parties, after
the original shareholder Yu Lin transferred the shares of RPL to the Respondent, the Respondent
will take over all the positions and powers of Yu Lin and become the largest shareholder and
effective controller of LKM. However, Wenyong Shi took advantage of the Respondent's trust and
as the Chairman of LKM, and instructed others to forge Yu Lin’s signature to change Wenyong Shi
to the sole director of RPL on December 12, 2014, which was the Respondent's loss of control
over LKM as the largest shareholder of LKM. Regarding the matter of changing the sole director
of RPL by forgery, Loeb & Loeb LLP, LKM's independent legal counsel, has published its
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investigation opinion, affirming that Wenyong Shi was only an employee who put Yu Lin’s
signature stamp on Yu Lin’s resignation letter of resignation as the sole director of RPL
In fact, the purpose of the loan agreement and the equity pledge agreement between the Claimant
and NetQin Tianxia and its shareholder LKM. That is to achieve the control of the overseas listed
company LKM over the domestic Internet company NetQin Tianxia, which was not actually
performed, and there was no real contractual relationship between the parties for the loan and
pledge. The equity interest in NetQin Tianxia, whether registered in the name of the Claimant or
the Respondent, obviously would not affect LKM's consolidation of NetQin Tianxia’s financial
statements, and there was no need for the Claimant to initiate arbitration.
At the same time, the Notice of Exercise of Power filed by the Claimant on the grounds that the
Respondent has committed many acts in violation of the VIE agreement also does not have any
factual basis, which are all speculations and accusations out of air and are used by Wenyong Shi
to maliciously slander the Respondent on the grounds that he is competing for the control of LKM.
Therefore, the arbitration was a waste of arbitration resources as Wenyong Shi further sidelined
the imperative arbitration initiated by the Respondent in order to seize control of LKM.
2.    The agreement on irrevocable authorization in the relevant agreement is in violation of
Chinese law and should be null and void.
According to Article 410 of the Contract Law, the principal or the trustee can cancel the
commission contract at any time. If damage is caused to the other party due to the cancellation of
the contract, compensation shall be paid, except for matters not attributable to the party. Therefore,
the relevant provisions in the relevant agreements and proxy letters involving the irrevocable
granting of personal rights, such as shareholders' voting rights, by the Respondent to the Claimant
are in violation of the provisions of the Contract Law and shall be deemed invalid. Therefore, the
Respondent is entitled to withdraw the authorization to the Claimant and exercise the shareholder
rights of NetQin Infinity in person.
3. The relevant VIE agreement, in this case, should be considered invalid because it disguises an
illegal purpose with a legal form. The Claimant is not entitled to exercise its rights based on this
contract.
The business of NetQin Tianxi includes the information service business in the second category of
value-added telecommunication business, the protected network information service industry, the
above-mentioned business belongs to the business of the restricted and prohibited category as
stipulated in China's foreign investment industry guiding catalog. The purpose of entering into the
VIE agreement is to control the entry of foreign capital into NetQin Tianxia through the agreement
and to circumvent the above foreign investment restrictions, which is in accordance with Article
52 of the Contract Law, and to cover up the illegal purpose in a legal form.
4.     The notice produced by the respondent does not have the form requirements required by
the contract.
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Section 8.1 of the Amended and Restated Share Deposit Agreement provides that this Agreement
shall involve our written consent, recommendation, designation and other decisions that materially
affect your day-to-day operations shall be made by our Board of Directors. Therefore, if the
Claimant needs to exercise the power, the decision should be made in the name of the Board of
Directors of Party A, not by notice in the name of the Claimant. However, this notice is a request
in the name of the company and is not accompanied by the relevant board resolution. Therefore it
does not comply with the contractual requirement of notice, and the respondent has the right to
reject it.
Second.         Content of Arbitration Settlement Agreement
The parties reached a settlement of the case through negotiation and signed an arbitration
settlement agreement, which reads as follows
                                 Arbitration Settlement Agreement
Party: A NetQin Infinity (Beijing) Technology Co., Ltd.,
Registration Address: Beijing City Haidian District Northeast Wangxi Road No. 8 Yuan,
Building No.4, Floor 3, Room 317.
Legal Representative: Lilin Guo
Phone:
Party : Lingyun Guo (ID                           )
Address:
Phone:


Whereas Party B is a shareholder of NetQin Tianxia Technology Co., Ltd. registered in its name
with 52% of the equity of NetQin Tianxia.
Whereas according to the Amended and Restated Share Deposit Agreement entered into between
Party A and Party B and others, Party A has the right to request Party B to transfer its equity interest
in NetQin Tianxia in whole or in part to Party A or a third person designated by Party A at any time
at the price and in the manner determined in the notice of exercise of rights issued by Party A as
requested
Whereas As a result of Party B's failure to transfer its equity interest in accordance with the notice
of exercise of rights issued by Party A, Party A filed an arbitration (Case No. DS20181332) in
October 2018 requiring Party B to transfer 52% of its shares in NetQin Tianxia to Party A in
accordance with the agreement, which is still pending on the arbitration (Arbitration 1332).
After amicable negotiations, the parties reached the following settlement in Arbitration Case 1332:
One. Equity Transfer
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2) The basis of the decision in this case
The parties submitted unanimous written applications to set aside Article I, Paragraph 2 of the
settlement agreement and for the arbitral tribunal to make an award in accordance with the
settlement agreement. Accordingly, the Arbitration Tribunal made an award in accordance with the
application of the parties and Article 47 of the CIETAC Rules
3) According to the settlement agreement, Article II, paragraph 1, stipulates that the costs of
arbitration in this case shall be fully borne by the claimant.


Four Award


Based on the above-mentioned opinion of the tribunal, the tribunal ruled as follows:
1. The Respondent transferred to Lilin Guo (ID                         ), a third party designated
by the Claimant, 70% of the Respondent's equity interest in NetQin Tianxia Technology Limited,
i.e. 36.4% of the equity interest in NetQin Tianxia Technology Limited;
2. The Respondent shall cooperate with the Climaint to complete the aforementioned industrial
and commercial change of equity, including but not limited to cooperating with the aforementioned
and submitting the procedural documents for industrial and commercial registration of equity.
3. The arbitration fee in this case is $243,550, all of which shall be borne by the claimant and shall
be offset against the equivalent amount of the arbitration fee already paid in advance by the
claimant.


This award is final and effective as of the date it was made.
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       Chief arbitrator:     [Signature]
       Arbitrator:    [Signature]
       Arbitrator:    [Signature]
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                                  DECLARATION

 I, Wang Qing, am an accredited translator working for Beijing Baijia Translation
 Company, which company is a translation service provider appointed by Beijing High
 People's Court. I undertake that the content of the English translation attached hereto
 is true and valid and is consistent with that of the Chinese original.


 Address: Suite 706, Office Tower 1, HENDERSON Centre, 18 Jianguomennei
 Avenue, Beijing China.
 Tel: 01065187912
 Postcode: 100005
 Signature ofTranslato
 Company Seal:


 Beijing Baijia Translation
 Date: September.23.2021
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                          Arbitral Award




     CHINA INTERNATIONAL Ee O.NOMIC AND TRADE ARBITRATION
                         COMMISSION




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     CHINA INTERNATIONAL ECONOMIC AND TRADE

                    ARBITRATION COMMISSION



                            ARBITRAL AWARD


 Claimant: NQ (Beijing)   Technology Co., Ltd.
 Address: 317, Floor 3,   Building 4, 8 West Dongbeiwang Road, Haidian District, Beijing

 Arbitration Attorneys:   Wang Jianxin and Xin Yiyun from Beijing Tianchi Juntai Law Firm

                          Yang Chao, Pan Jiaxun, Zhang Hanwen, Du Mingzhu from Beijing

                          Anjie Law Firm



 First Defendant: Shi Wenyong (ID Card No: 352124197711280513)

 Address: 18E, South Wing, 8 South Waijiaobu Street, Chaoyang District, Beijing
 Second Defendant: Zhou Xu (ID Card No: 110104196903103013)
                                                                             '
                                                                            ~l
 Address: 603, Building 4, 18 Xiaohongmiao, Xuanwu District, Beijing    ~

 The Defendants' Arbitration Attorney: Li Shiliang from Beijing Zhengxin Law Firm




                                       Beijing

                                 September 4, 2021




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                                  Arbitral Award
                                                   [2021] CIETAC Jing Award No. 2304


     According to the arbitration clause in the "Amended and Restated Share Disposal

 Agreement" (hereinafter referred to as "SDA'') signed in November 2015 by and

 among NQ (Beijing) Technology Co., Ltd., the Claimant (the "Claimant" or "NQ"

 hereinafter) and Shi Wenyong, Defendant 1 ("Defendant 1" hereinafter), Zhou Xu,

 Defendant 2 ("Defendant 2" hereinafter, or the "Defendants" collectively along with

 Defendant 1), and the outside parties Guo Lingyun and Beijing NQ World Technology

 Co., Ltd. ("NQW" hereinafter), and the written arbitration application raised by the

 Claimant to China International Economic and Trade Arbitration Commission

 (hereinafter referred to as "CIETAC") on November 12, 2019, CIETAC has admitted

 and filed in office the arbitration case over the dispute under the above-stated contract.

 The case number is DS20192260.



     The arbitration is subject to the "Arbitral Rules of China International Economic

 and Trade Arbitration Commission" (the "Arbjjcal -R-ules . rereii:after) in eitect since

 January 1, 2015. In view that the dispute hf reunder• does not involve any foreign

 elements, "Special Regulations on Domesti Arbitration e ases" in Chapter V of the
                                              \_    --
 Arbitral Rules shall apply according to Section LXV thereof, or issues not exhausted

 therein shall be governed by provisions in other chapters of the Arbitral Rules.



     On December 16, 2019, the arbitration court ofCIETAC (the "Court" hereinafter)

 served to both parties the arbitration notice, the Arbitral Rules and the Register of

 Arbitrators by express mail, and additionally mailed to the Defendants the arbitration

 application submitted by the Claimant and the attachments thereto. However, the said

 mail to the Defendants was returned by the post office by reason of "Unclaimed" and

 "Rejected". After address confirmation with the Claimant, the Court mailed the said
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 documents again to the Defendants on January 6, 2020 as per the new address from

 the Claimant. According to an inquiry, the mail was also returned by the post office.

 On January 10, 2020, the Court, as per the new address provided by the Claimant,

 sent the mail again to Defendant 2. Inquires show the mail to Defendant 2 has been

 properly delivered.


     On January 14, 2020, Defendant 1 submitted a "Power of Attorney" and the
 attachments thereto. The Court delivered the abovementioned arbitration documents
 in person to the authorized representative of Defendant 1.


     As there is more than one defendant, and as the Defendants have failed to jointly
 select or alternatively jointly authorize the chief of CIETAC to appoint an arbitrator,
 the CIETAC chief has appointed Madam Tian Hui and Mr. Zhang Guoming as
 arbitrators and Mr. Kou Liyun as the chief arbitrator of the present case pursuant to
 Section XXIX-(III) of the Arbitral Rules. The said three arbitrators, after signing their
 Declaration of Appointment Acceptance, set up the arbitral tribunal on April 15, 2020
 to examine the case jointly. On the same day, the _Cour niaiJe8. the tribunal
 organization notice to the Claimant, with the Deciaration signeti y the arbitrators
 attached thereto. On April 22, 2020, the Court handed in persma the said arbitration
 documents to the authorized representative o · Det~,ndant 2. On May 11, 2020, the
 Court, as per the address confirmed in writing by the Claimant, mailed the said
 arbitration documents to Defendant 1. Inquiries show the documents have been
 properly delivered.


    The tribunal, after consultation with the Court, decided to open a court session to
 hear the case in Beijing on June 18, 2020. The Court mailed the court session notice
 to the Claimant and Defendant 1 on May 15, 2020. On May 18, 2020, the Court
 delivered the said arbitration documents in person to the authorized representative of

 Defendant 2.

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     On June 11, 2020, the Defendants submitted "Application" and "Beijing No. 4
 Intermediate People's Court Case Admission Notice", the Court forwarded them to
 the Claimant and sent copies of them to the Defendants by mail. The said mail to the
 Defendants was returned.


     Due to the COVID-19 epidemic, the Court decided to adjourn the court hearing.
 On June 15, 2020, the Court mailed the adjourn notice to both parties. The mail to the
 Defendants was returned.


     On June 15, 2020, Beijing No. 4 Intermediate People's Court delivered by mail
 "(2020)Jing04MinTe Letter No. 402", informing that the arbitration procedure of the
 present case was suspended. On the following day, the Court, according to Sections
 XLV-(I) and (II) of the Arbitration Rules, decided that the arbitration procedure
 suspended forthwith on the day. The Court then sent a written suspension notice to
 each party.


     On July 1, 2020, the Defendants submitted a power of attorney, and the Court
 mailed to it the aforesaid arbitration documents that had been returned.


     On December 29, 2020, CIETAC received "(2020) Jing04MinTe Civil Award No.
 402" from Beijing No. 4 Intermediate People' Court. On January 4, 2021, the Court
 sent a written letter to each party, infom1ing that, given Beijing    o. 4 Intermediate
 People's Court had dismissed the Defend nts' request for invalidating the arbitration
 clause, the tribunal decided to restart the arbitration procedure according to Section
 XLV of the Arbitration Rules.


     After consulting with the Court, the tribunal determined to open a court session to
 examine the case in Beijing on January 28, 2021. The Court sent the court session
 notice to both parties on January 4, 2021.


     On January 28, 2021, the tribunal held the court session in Beijing to hear the
 case as scheduled. The Claimant and the Defendants appointed their arbitration
 attorneys to appear at court. The Defendants delivered in court the "List of
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 Documentary Exhibits" and the attachments thereto, which the Court forwarded to the
 Claimant. During the court hearing, the Claimant made its statement in accordance
 with its arbitration claims and the supporting facts and grounds, and the Defendants
 gave oral replies. Both parties carried out cross-examination of the exhibits, debated
 legal issues, and answered the tribunal's questions.


     After the hearing, the Defendants submitted "Attorney's Opinion" and "List of
 Additional Exhibits" along with the attachments thereto, and the Claimant delivered
 "After-court Attorney's Opinion", "List of Additional Exhibits" and the attachments
 therewith. The Court had the said documents exchanged between the parties.


     On February 25, 2021, the Claimant raised "Rebuttals to the Attorney's Opinion
 from the Defendants" and "Cross-examination Opinions". On February 26, 2021, the
 Defendants submitted "Cross-examination Opinions". The Court had the said
 materials exchanged between the parties.


     As needed by the arbitral procedure, the president of the Court agreed and
 determined to extend the decision deadline for the case to S,ept mber 4, 2021.
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     Arbitration documents of the case Have btien effectively served to both parties

 according to Section VIII of the Arbitral Rules. ~
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     The trial has ended. The tribunal has reached· this Award depending on the result
 of the court hearing and the pertinent exhibits from both parties.


     The case facts, the tribunal's opinion and the arbitration outcome are hereby
 stated as follows respectively:


                                       I.   Case Facts


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       NQW, an outsider of the case, was registered and founded in China on October
 21, 2005 by three natural-person shareholders, namely Shi Wenyong, Zhou Xu and
 Lin Yu, which was mainly engaged in provision of mobile Internet cloud services.
 Through a series of changes in shareholders' capital contributions, paid-in capital,
 investors, the legal representative, and board members, the company's registered, also
 being paid-in capital, is RMB Y 50million at present (all amounts hereinafter are
 denoted in RMB-Note from the tribunal), its registered shareholders are Shi
 Wenyong, Zhou Xu, Guo Lingyun and Guo Lilin. Among them, Shi Wenyong and
 Zhou Xu, two defendants of the present case, respectively hold 14.75% and 33.25%
 of NQW's shares, corresponding to RMBY7.375million and RMBY16.625million
 of capital contribution.


     NQW's initial shareholders and investors registered and founded Link Motion Inc.
 ("LMI" hereinafter) in Cayman Islands in 2007. In 2010, LMI registered and
 incorporated Link Motion International Limited ("LMIHK") in Hong Kong and held
 100% of its shares. LMI registered and set up NQ, the Claimant, in China in 2007. At
 present, LMIHK is the holder of 100% shares ofNQ.

                                                                   ....
     For the purpose of financing through overseas listing, NQ sigired a series of VIE
 Agreementss with NQW and its shareho1d rs. in~luding "Exclusive Technical
 Consulting and Service Agreement", "Business Operation Agref ment", "Share
 Disposal Agreement", "Loan Agreement ' and "Share Pledge Agreement". Due to
 capital increases and shareholder changes, among other reasons, the parties amended
 and restated the said agreements at different timepoints. The present case involves the
 "Share Disposal Agreement" signed in November 2015 by and between NQ as one
 side and NQW, NQW's registered shareholders at the time, being Shi Wenyong, Zhou
 Xu and Guo Lingyun.


     LMI went public at New York Securities Exchange in U.S.A. on May 5, 2011 and
 exited on January 9, 2019. A series of legal disputes in connection with control ofNQ
 occurred among NQ's shareholders.


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     (I) Claimant's Arbitration Application & Facts and Grounds


     According to Articles I and II of the Share Disposal Agreement, subject to service
 of a written notice on option exercise to the Defendants, the Claimant shall have the
 right to appoint a third party from time to time to purchase all or part of NQW's
 shares registered in the Claimant's name, in which event the Defendants shall transfer
 the shares to the Claimant or the third party designated by the Claimant within ten
 working days from the date of receipt of the option exercise notice from the Claimant.
 The Claimant shall have the right to determine in the exercise notice the exercise price
 and the terms of payment, and the exercise price shall used in full to pay the loans the
 Claimant has provided to the Defendants.


     On July 22, 2019, the Claimant sent "Exercise Notice" to the Defendants as per
 the covenant in the Share Disposal Agreement, demanding the Defendants to transfer
 all their NQW shares to Guo Lilin and Guo Lingyun, the third parties designated by
 the Claimant. However, the Defendants gave no response to the Claimant's notice and
 refused to cooperate in the title transfer procedure for the shares.


     In the Claimant's view, the Defendants under the Share Disposal Agreement are
 obliged to transfer their NQW shares to the third party (parties) designated by the
 Claimant according to the exercise letter from the Claimant, and to provide
 cooperation in the associated title transfer procedure fo.r 'in~ shares with the
 administration for industry and commerce. Besid , as agreed in the Share Disposal
 Agreement and according to the exerci e notice, the full price of the s~ar s has been
 used to pay the loans provided by the      Jaj mant to the Defendants, and the Claimant
 need not pay any share transfer price to the Defendanl . Th~ Defendants now refuse to
 cooperate in the title transfer of the shares, which act has constituted a default of the
 agreement.


     The Claimant hereby raises the following arbitration claims:


     1. Defendant 1 shall transfer its NQW shares to the Claimant's designated third
 parties, namely Guo Lilin and Guo Lingyun, comprising 10.325% to be transferred to
 Guo Liling and 4.425% to Guo Lingyun.



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      2. Defendant 2 shall transfer its NQW shares to the Claimant's designated third
 parties, namely Guo Lilin and Guo Lingyun, comprising 23.275% to be transferred to
 Guo Liling and 9.975% to Guo Lingyun.

     3. The Defendants shall cooperate in the procedure for title transfer of the shares
 with the administration for industry and commerce.

      4. The Defendants shall bear the full arbitration fee of and the Claimant's
 attorney's fee for the present case.

     (11) After-court Attorney's Opinion from the Defendants

      The Claimant's arbitration claims are not justifiable and ought to be dismissed by
 the following reasons:

      1. Guo Liling and others, by taking advantage of LMI's exit from the USA stock
 market in early 2019, obtained a takeover order by deceptively through a false lawsuit,
 and in turn seized LMI's assets in China. In April 2019, through cheating Haidian
 District Administration for Industry and Commerce by fabricating the signature of Xu
 Zemin, the former legal representative of NQ, falsely claiming a loss of the common
 seal, and otherwise undue means, Guo Lilin took office of the legal representative of
 NQ and thus gained control of NQ. In the present case, Guo Lilin attempted to have
 the shares of Shi Wenyong and Zhou Xu transferred to his name by making use of the
 VIE Agreements, and thus to further embezzle shareholding of LMI in China.

     2. Opinion on Legal Issues

      (1) NQ is not an eligible party of tlie present case a.I\d ha -no right to raise the
 arbitration application for transfer of the s~ares to the,-out-siae parties. As agreed in the

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 Share Disposal Agreement, such trans f1er claim ought to be raised by the designated
 third party (parties). The requirement of law is that only a creditor may have the right
 to claim, in subrogation of the debtor, against secondary debtors, or a shareholder may
 subrogate its company to claim against the company's senior executives, and the
 subrogation action conditions required by law are therefore not satisfied in the present
 case. If Guo Lilin, as an outside party, is to claim any rights, he is supposed to
 institute a separate lawsuit before the court.

     (2) The shares in question have been pledged to NQ and the pledge has been
 registered and filed on record. Pursuant to Section 443 of the "Civil Code of the

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 People's Republic of China" (the "Civil Code" hereinafter), "Pledged shares are not
 transferrable, unless as negotiated and agreed upon by the pledgor and the pledgee."
 Given that the shares have been pledged, they shall not be transferred unless as agreed
 after negotiation between the Claimant and the Defendants.


     (3) The NQW shares held by Shi Wenyong have been sealed up by the court on
 more than one occasions because of his indebtedness, and are subject to enforcement
 through auction, Shi Wenyong is therefore unable to transfer the title of the shares and
 the opposite party's exercise demand is in fact unenforceable. Pursuant to Section 580
 of the Civil Code, "when either party fails to perform a non-monetary obligation or if
 its performance of such non-monetary obligation is inconsistent with what has been
 agreed upon, the opposite party may demand performance, unless: (I) the performance
 is impossible at law or in fact." Where a non-monetary obligation is impossible to
 perform, the opposite party's performance demand shall be dismissed.


     (4) Pursuant to the Company Law of the People's Republic of China (the
 "Company Law" hereinafter), "a shareholder's transfer of its shares to any person
 other than other shareholders shall be subject to the consent of majority of all other
 shareholders. The shareholder shall give a written notice of the share transfer to all
 other shareholders for their consent", and the share transfer to Guo Lilin shall
 accordingly be notified to other shareholders and their opinion over the transfer shall
 be solicited. In addition, Article 2.5 (1) of the Share Disposal Agreement provides that
 an option exercise shall be raised to a shareholders' meeting, at which a resolution
 thereon shall be reached. The opposite party's optio n e~,._ercise has skipped the said
 procedure.


     (5) On January 10, 2019, the De fendants and 1-iQ,        QW, LMI and its major
 shareholder "China AI Capital Li mited" ("China AI" hereinafter) signed an
 Agreement, whereby any changes invab in         Q and NQW, and any matters between
 NQ, NQW and the Defendants regarding performance, change and termination of the
 VIE Agreements, shall all be subject to the unanimous consent of LMI and China AI,
 and that disputes, if any, shall be solved through legal actions. The present case ought
 to be subject to court jurisdiction. Pursuant to the covenants in the aforesaid
 Agreement, the Claimant's claim of option exercise shall be subject to the unanimous
 consent of LMI, i.e. its effective controller, and China AI, or such claim shall be void
 and invalid.




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      (6) The Agreement is valid and effective.


      Hua Jingyuan has been involved in China Al's matters since the end of 2018 and
 has been authorized an empowered by China AI and its shareholder Li Yu, and
 therefore has the full power to sign the Agreement for and on behalf of China AL The
 signatures and the common seals on the Agreement are authentic and valid, with
 authenticity never denied by any court. The failure to deliver the Agreement in other
 lawsuits has no connection with authenticity of the Agreement, and such failure
 cannot prove the Agreement has been fabricated.


      In the backdrop that the original contract has more than one contracting party and
 that only some of the contracting parties have signed the supplementary agreement,
 which shall be effective and binding only upon the signing parties thereto instead of
 those who have not signed it. In the present case, even if Guo Linyun had not signed
 the Agreement, the only effect would be that NQ's option exercise upon Guo Linyuan
 should continue to follow the original agreement, but the option exercise over Shi
 Wenyong and Zhou Xu shall be subject to the Agreement. As no exercise upon Guo
 Linyun is involved here, Guo Linyun's not signing the Agreement does not affect
 effectiveness of the Agreement, nor its applicability to the present case. Similarly,
 when the original contract has been executed by more than one party and if only part
 of the signing parties have changed the contract, such change shall take effect only
 upon those who have signed off the change, but not binding upon those who have not
 signed. Such change is not a unilateral change and is thu                            ·a,li:, ~ , effective. In the
 present case, the signing parties of the Agree , €It ·rwi1&f R ~ -~~ '1Pi\,rty C and some
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 upon the signing parties and shall be nonbin_gli.p:g~ ~liupon Guo Linyun who has not
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 signed thereon.                               ~



      (III)"After-court Attorney's Opinion" from the Claimant


      1. The tribunal shall examine the dispute in question here based on the Share
 Disposal Agreement.


      (1) The Agreement is a document fabricated by the Defendants in collusion with
 China AI through making use of the nullified common seal and through false dating.


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     Hua Jingyuan, the authorized representative of China AI, has not joined the
 company until October 2019 and has been totally impossible to appear on behalf of
 the company on the agreement signed in January 2910. China Al's participation in
 LMI involves procedural noncompliance and capital contribution failure and it is
 intrinsically questionable at law whether LMI was qualified to sign the relevant
 documents in the capacity of LIM's shareholder. NQ's common seal was controlled
 by the Defendants before May 2919 but was nullified through a newspaper
 announcement in March 2019, but Shi Wenyong has fabricated the Agreement by
 making use of the nullified common seal on his hand. Throughout the series of legal
 disputes occurring on control of NQ, the Defendants and its related parties have never
 exhibited the Agreement that was obviously favorable to them. On July 22, 2019,
 NQW convened a shareholders' meeting and a board meeting to elect Guo Lilin board
 chairman and legal representative of the company. In May 2020, Shi Wenyong, in
 response to that, instituted the lawsuit demanding validation of effectiveness of the
 corporate resolution. It was after NQW posted the jurisdiction objection demanding
 the dispute to be referred to the arbitration commission that the Defendants showed
 the Exhibit for the first time. It is obvious that the Agreement is a document fabricated
 by the Defendants in collusion with China AI through making use of the nullified
 common seal and false dating, and that it cannot and  .,,. shall n,ot have any legal
 effectiveness in changing the Share Disposal Agreement. :.. 0 '{{\v·o-•··
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     (2) The Agreement, by its for6;, al-so~fails to meet the -1iange requirements set
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 forth in Article 8.1 of the Share Dis osal Agreement, and therefore cannot amount to a
 valid change of the terms in the Share Disposal Agreement regarding disposal of
 substantive rights and settlement of disputes.


     The Share Disposal Agreement and the Agreement involve different contracting
 parties. According to pertinent clauses in the Capital Contribution Agreement, Shi
 Wenyong, Zhou Xu, the Defendants here, and Guo Linyun, an outside party, are
 collectively "Party B" and "Granting Party" under the Share Disposal Agreement,
 whereunder they jointly and severally bear responsibility to each other. Amendments
 or changes, if any, of the Share Disposal Agreement shall be made in writing by the
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 "parties of the Agreement" including NQ (Party A), Party B, and NQW (Party C).
 Without the consent of Guo Lingyun, a member of Party B thereunder, Shi Wenyong
 and Zhou Xu may not make any change to the rights and obligations of the three
 members of "Party B" jointly under the Share Disposal Agreement. The change
 conditions required in the Share Disposal Agreement are unchangeable mandatory
 requirements. The Agreement, by its form, fails to meet the change requirements set
 forth in the Share Disposal Agreement, and therefore cannot become a valid change of
 the Share Disposal Agreement.


     2. The covenants in the Share Disposal Agreement are valid and effective, the
 Claimant has served the exercise notice, and the Defendants ought to transfer the
 shares as agreed to the third parties designated by the Claimant.


     (1) The covenants in the Share Disposal Agreement are valid and performable.


     When entering into the Share Disposal Agreement, the Claimant and the
 Defendants have unanimously agreed that the Claimant shall have the right to demand
 the Defendants from time to time to transfer the shares to the Claimant or to its
 designated third parties, the transfer price shall be determined by the Claimant
 unilaterally, and the full transfer price shall be used to pay or offset the loans the
 Defendants have obtained from the Claimant. The parties of the present case have
 disposed of their respective rights and obligations through entering an agreement in
 advance, and the Share Disposal Agreement is 110Un any situation that will render it
 invalid, and shall therefore be support d. ~     Ill''       s--s~,           ,           ~s
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     (2) NQ is eligible to be the cla·mant in the presynt arbitration case.


     According to the Share Disposal Agreement, the Claimant has the right to
 demand the Defendants from time to time to transfer their shares to the Claimant or to
 the third parties designated by the Claimant, and the Defendants shall make the
 transfer according to the exercise notice from the Claimant and provide cooperation in
 the title transfer procedure with the administration for industry and commerce. Once
 the Claimant opts to have any third party to be assigned the shares held by the
 Defendants, the act shall constitute such performance of the contractual obligations to
 the third party as referred to in Paragraph I of Section 522 of the Civil Code. The
 Claimant shall have the right to demand the Defendants to perform the contract and
 transfer the shares as agreed to the third parties designated by the Claimant.
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       (3) The Claimant has sent the exercise notice to the Defendants according to the
 Share Disposal Agreement.


     The Claimant has sent the Exercise Notice and the Exercise Notice (II), both
 mailed to the Defendants by EMS. To say the least, even if the Defendants had not
 received the said exercise notices before start of the arbitration proceedings hereof,
 they should have known the content of the notices through viewing the documentary
 exhibits submitted by the Claimant. In that context, the Claimant has fully performed
 the pre-exercise procedure set forth in the Share Disposal Agreement.


     In view of the foregoing, the Claimant has satisfied the fundamental conditions
 on its raising of the arbitration claims hereof.


     3. There is no other obstacle against the Claimant's arbitration claims.


     (1) Concluding the underlying resolution at the shareholders' meeting and signing
 the share transfer agreement are not the pre-exercise conditions to be satisfied by the
 Claimant.


     NQW currently has four registered shareholders, being the two natural persons
 the Claimant has appointed to be assigned the target shares,.,.--namely Guo Lilin and
 Guo Lingyun, and the Defendants, namely Shi Wenyong and Zhou ~ u? Accordingly,
 there is no such fundamental fact that the J1ar ---: are transferred to anyone other than
 the shareholders, nor any precondition of defense that any shareholder other than the
 Defendants has prevented the share transfer. Article 2.5 of the Share Disposal
 Agreement is not a pre-procedure to be satisfied by the Claimant before option
 exercise, but is instead a mandatory advance covenant regarding the full set of written
 documents to be delivered by the Defendants when cooperating with the Claimant in
 going through the shareholding change registration procedure with the administration
 for industry and commerce. The said covenant shall not be made an obstacle against
 the Claimant's claim of its rights, which is instead exactly the matter requiring the
 Defendants' cooperation.


     (2) The current status of the target shares, that is, the shares involve a pledge and
 freezing by court, shall not affect the Claimant's arbitration claims.


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      The pledge set on the target shares is inherently the trading restraint put in place
 by the contracting parties at the time of contracting for the purpose of ensuring the
 Defendants' performance of the Share Disposal Agreement, and shall not affect
 performance of the said agreement. The current status that some of the target shares
 have been frozen by court does not constitute an obstacle against conclusion of the
 award hereof. It shall be a follow-up step to determine whether the title of the target
 shares can be effectively transferred to and registered under the names of the third
 parties designated by the Claimant, which shall take place during the enforcement
 period of the present case, when the Claimant physically files the change registration
 with the administration for industry and commerce and seeks settlement through
 negotiation with other debtors of Shi Wenyong and with the enforcement court, and
 which step shall not affect the Claimant's arbitration claims.

     (IV) The Claimant's "Rebuttals against the Attorney's Opinion from the
 Defendants"

     No matter the Agreement is authentic or not, the intrinsic flaw in the form of the
 Agreement has rendered it impossible to constitute a valid change of the Share
 Disposal Agreement, and the tribunal shall continue to examine the dispute in
 question here based on the Share Disposal Agreement.

     1. The background and the purpose of the Share Disposal A2eement have
 decided that any change of the agreement is subjeGt to strict ,satisfaction of the agreed
 requirements.


     The Share Disposal Agreement ha been signed for the purpose of LMl's
 effective sharing of risks with the various patties in China before its going public, so
 that the company, after being listed, and through the agreement with the Claimant,
 control NQ, the entity running business operations, and the shareholders of NQ. That
 was why the parties, in addition to the Share Disposal Agreement, further signed other
 relevant agreements, including the Loan Agreement and the Share Pledge Agreement,
 and set the pledge on the shares. Given the aforesaid contracting background and
 purpose, the Share Disposal Agreement, in its wording, has strongly stressed
 "collectiveness" of the shareholders of NQW, and has treated all the shareholders as
 one single party, and more importantly, changes of the Share Disposal Agreement, if
 any, are subject to strict compliance with the covenants therein and shall be made and
 executed by all the parties jointly. The reason lies in the objective requirements of the
 structure of the transaction concerned, that is, in the trading model controlled by an

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 agreement, the control relationship among the related transaction parties cannot reach
 the level of stable shareholding control, and the only possible way to maximize the
 assurance and supervision upon trading structure stability is to require all documents
 to be executed unanimously by all the parties.


     2. The content of the Agreement alone has also decided that it would be
 non-performable if without the signature of Guo Lingyun.


     Guo Lingyun, as the holder of 52% of NQW's shares as at the signing date
 (January 10, 2019) of the Agreement, did not sign on the Agreement, while Article I
 of the Agreement nevertheless provides, "Effective from the exit date (January 9,
 2019) of [LMI], any changes to [NQ] and [NQW], including but not limited to
 shareholding changes, shareholder replacements, legal representative replacements,
 changes of directors, senior executives and supervisors, changes of registered address,
 business scope or registered capital, or investments, profit distributions, dissolution
 liquidation, etc., shall be subject to the unanimous written consent of [China AI] and
 [LMI]; or any such changes shall be void and invalid and may not be implemented by
 [NQ], [NQW] and [Shi Wenyong, Zhou Xu]."


     3. The Agreement itself is materially suspected to have been fabricated. If the
 tribunal intends to conclude the Share Disposal Agreement has been changed by the
 Agreement, the Claimant will request the tribunal to ma~e,a clari:fibation thereon, to
                                                       ,,
 involve both parties to fully produce and cross-exaajne evidence regarding
 authenticity of the Agreement, and to demand H~a 'CJingy1jan and Li Yu to present
 testimonies in court.


     The Defendants additionally delivered, after court, a "Letter of Authorization"
 issued unilaterally by the outside party China AI, which, in view of the timing of
 appearance, the issuing party, the content therein and the fact proven thereby, is
 unable to support authenticity of the Agreement, but has instead demonstrated their
 courage for and capability of document fabrication.


     In the HK arbitration action brought by Zhongzhi Hi-Tech Overseas Investment
 Ltd., against LMI, the tribunal ultimately concluded in the arbitration award that Shi
 Wenyong had had acts obviously against his loyalty and diligence obligations to the
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 company during 201 7 to 2019, his acts of maneuvering LMI had been taken without
 the board's resolutions and were against the decision procedure set forth in the
 Articles of Association of the company, and their effectiveness were consequentially
 defective materially. The conclusion is consistent with what Chinese courts have
 concluded over a series of disputes regarding the control of NQW, that is, Shi
 Wenyong, when serving as the effective controller of LMI, NQ and NQW, has had
 acts of various sorts that harmed the companies and their shareholders. The facts are
 adequate to further prove his affixing the common seals ofLMI, NQ and NQW on the
 Agreement was apparently his personal behavior and could hardly represent the real
 will of the parties, and effectiveness thereof is of manifest flaws. If the tribunal
 concluded based on the Agreement that the Share Disposal Agreement had been
 changed, the Claimant would ask the tribunal to give a written clarification on that
 focal point, to involve both parties to fully produce and cross-examine evidence
 regarding authenticity of the Agreement, and to require Hua Jingyuan and Li Yu to
 provide testimonies in court.


                                 II. Tribunal's Opinion


     (I) Applicable Law & Coverage of Trial                    ~p\~
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     The Civil Code was in effect officially on January 1, 2021.              ccording to
 Paragraph II of Section I of the "Supreme People's Court Regulations on Time
 Effectiveness in Application of the Civil Code of the People's Republic of China, civil
 dispute cases caused by legal facts before effectiveness of the Civil Code shall be
 governed by the laws and judicial interpretations prevailing at the time, unless
 otherwise required in the laws or judicial interpretations. In the present case, the Share
 Disposal Agreement was signed in November 2015, the Claimant sent the Exercise
 Notice to the Defendants on July 22, 2019, both of the legal facts, i.e. the parties'
 signing of the contract and the Claimant's claim of exercise of its rights, had taken
 place before effectiveness of the Civil Code. Accordingly, the tribunal has concluded
 that, unless otherwise required by laws and judicial interpretations, the present case

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 shall be governed by the applicable provisions of the "Contract Law of the People's
 Republic of China" (the "Contract Law" hereinafter).


     The tribunal has noticed that the background of the present case involves
 different natures of legal disputes and procedures among multiple legal parties, for
 instance, whether the change of control of the related party meets the requirements of
 applicable laws and the company's articles of association, whether the common seal
 on the document concerned represents the true will of the parties involved, and the
 resultant legal effectiveness issue, and so on. In the tribunal's opinion, the present
 case involves the dispute over the Share Disposal Agreement, the facts and grounds
 given by both parties in their claims and defense shall be examined strictly in
 accordance with the applicable laws and the pertinent clauses of the Share Disposal
 Agreement. The tribunal is not to consider, nor to comment on the above-mentioned
 matters that are in connection with the background of the present case but do not
 constitute disputes under the Share Disposal Agreement.


     (II)Covenants in & Performance of Share Disposal Agreement


     The Claimant has delivered the following exhibits:


     1. the Share Disposal Agreement signed by the Claimant, the Defendants, the
 outside parties Guo Lingyun and NQW in November 2015;


     2. the two Exercise Notices sent by the Claimant to the Defendants, one on July
 22, 2019 and the other on September 10, 2019, and the underlying EMS waybills,
 SMS and email records;                  \..,--"'




     3. the business registration document of China AI;


     4. the shareholders' resolution made by LMIHK on March 19, 2019;


     5. information about the Claimant's change registration with the administration
 for industry and commerce, which shows its change of its legal representative,
 shareholders' names, directors, managers and supervisors on April 17, 2019;


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     6. the announcement on newspapers on nullification of the Claimant's common
 seal & the public announcement on dismissal of its existing legal representative;


     7. the arbitration application raised by the Claimant to the arbitration commission,
 showing that NQ controlled by Shi Wenyong, based on the Share Disposal Agreement,
 applied to the arbitration commission on October 12, 2018 for arbitration with Guo
 Lingyun as the defendant; (2019)Jing0108MinChu Civil Judgment No. 35030 of the
 Haidian court and (2019)Jing01MinZhong Civil Judgment No. 10118 of Beijing No. 1
 Intermediate People's Court, which show that Xu Zemin, the former legal
 representative of the Claimant, had sued NQ and Guo Lilin and asked for a court
 order for registering Xu Zemin as the legal representative, chairman and director of
 NQ, but had lost the case in both the first and the second instance proceedings;
 (2019)Jing0108XingChu Administrative Judgment No. 812 of the Haidian court and
 (2020)Jing01XingZhong Administrative Judgment No. 425 given by Beijing No. 1
 Intermediate People's Court, showing that that Xu Zemin, the former legal
 representative of the Claimant, had sued Beijing Haidian District Market Supervision
 and Inspection Administration and asked for a court order for cancelling the change
 registration, but had lost the case in both the first and the second instance proceedings;
 the Complaint and the List of Exhibits submitted by Shi Wenyong, the Bill of Defense
 delivered by NQW, (2019)Jing0108MinChu Civil Judgment No. 56920 from the
 Haidian district court and (2020)Jing01MinZhong Civil Judgment No. 7149 from
 Beijing No. 1 Intermediate People's Court, showin~ that Shi Wenyong sued NQW in
 response to the resolution of the shareholder - meeting dated July 22, 2019 and asked
 the court for identifying invalidity of the resolution. but lost the case in both the first
 and the second instance proceedings;                      • \   ...... l   \.-   "',,p•"_,..,



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     8. the "Amended and Restated Loan Agreement" and the "Amended and Restated
 Share Pledge Agreement" signed by the Claimant, NQW and NQW's registered
 shareholders in 2015.


     The Defendants have delivered the following exhibits:


     1. NQ's file with the administration for industry and commerce, showing the
 shares in question have been pledged to the Claimant and the pledge has been
 registered;

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     2. NQ's file with the administration for industry and commerce, showing the
 shares held by Shi Wenyong have been sealed up for more than one time by various
 courts;


     3. the Agreement signed on January 10, 2019 by the both parties of the present
 case, NQW, LMI, and China AI;


     4. the "Letter of Authorization" issued by China AI and its shareholder Li Yu to
 Hua Jingyuan, authorizing the latter to sign relevant agreements.


     The Defendants do not accept authenticity of the above-listed Exhibits 2, 3. 4
 from the Claimant, namely the Exercise Notices and the EMS waybills, SMS and
 email records, China Al's business registration document and the resolution of
 LMIHK's shareholders; while the Claimant does not accept authenticity of Exhibits 3
 and 4 from the Defendants, namely the Agreement and the Letter of Authorization. In
 the tribunal's view, the Exercise Notices and EMS waybills, SMS and email records,
 China Al's business registration document and LMIHK's shareholder resolution
 delivered by the Claimant are objective, relevant and legitimate, and their contents are
 inter-corroborative. The Defendants have simply denied them but have not given any
 reasonable grounds or submitted any evidence to the contrary, which denial is
 therefore not adopted by the tribunal; the Agreement and the "Letter of Authorization"
 produced by the Defendants meet the legal requirements r' garding evidence, the
 Claimant has raised doubts regarding authenticity of the foregoing but the doubts are
 inadequate to overrule the probative force of the superficial contents of the documents
 and are therefore not adopted by the tribunal either.


     According to the exhibits from both parties, the tribunal has identified the
 following findings :


     In November 2015, NQW's shareholders were changed from Shi Wenyong, Zhou
 Xu and Lin Yu to Shi Wenyong, Zhou Xu and Guo Lingyun, for which purpose NQ
 (as Party A), NQW (as Party C) and Shi Wenyong, Zhou Xu and Guo Lingyun (as
 Party B collectively) agreed to amend and restate the Share Disposal Agreement. The
 key covenants in the Share Disposal Agreement are as follows:

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     Article 3 in "Whereas": The members of Party B (referred to as the "Granting
 Party" collectively) are the shareholders of NQ Technology (i.e. NQW, and similarly
 hereinafter-Note from the tribunal);


     Article 5 in "Whereas": "Party A and Party B signed a new share pledge
 agreement (referred to as the "Share Pledge Agreement" hereinafter) on November 18,
 2015 to supersede the original share pledge agreement, under which Party B pledged
 its full capital contribution in NQW to secure NQW's performance of the obligations
 under the exclusive consulting and service agreement. In order to guarantee security
 of the pledgee's rights, and in consideration of the technical support from Party A to
 NQW and the excellent cooperative relations among the parties, the parties hereby
 agree as follows";


     Article 1.1 "Grant": "The parties of the Agreement consent that, from the
 effectiveness date of this Agreement, unless disclosure has been made to and the clear
 prior written permission has been obtained from Party A, Party A shall have the
 exclusive option to, subject to satisfaction of the conditions set forth in this
 Agreement, buy from time to time, either by itself or through its designated third
 parties, all NQW shares held by the Granting Party at the price equivalent to
 USD$[         ]";


     Article 2.1 "Timing of Exercise": "The Granting Party unanimously agrees that,
 to the extent permitted by laws and regulations of the People's Republic of China,
 Party A may exercise the option under this Agreement either in part or in entirety at
 any time after signing and effectiveness of this Agreement'" (Article 2.1.1 ); "The
 Granting Party unanimously agrees that the times of exercise of the option by Party A
 are not subject to any limit, unless it has acquired and become holder of all shares of
 NQW" (Article 2.1.2); "The Granting "Party-unanimously agrees that Party A may
 appoint a third party to exercise the option for and on behalf of it, provided that, when
 exercising the option, Party A shall give a prior written notice to the Granting Party"
 (Article 2.1.3);


     Article 2.2 "Disposal of Exercise Price": "The Granting Party Unanimously agree
 that the full exercise price received by the Granting Party when Party A exercises the
 option will be used to pay the loans that Party A has provided to the Granting Party
 according to the loan agreement (the loan agreement signed by and between Party A
 and Party Bin 2007 and the tri-party agreement signed by the parties of the agreement,
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 the loan agreement executed between Party A and Party Bon May 31, 2012 and the
 loan agreement between Party A and Party B dated November 18, 2015)";


     Article 2.4 "Exercise Notice": "If Party A is to exercise the option, it shall give a
 written notice to the Granting Party ten working days before the Delivery Date (as
 defined hereinafter), which notice shall clearly contain the following terms and
 conditions ...... The parties of the agreement consent that Party A may appoint a third
 party from time to time and exercise the option and register the shares in the name of
 the third party";


     Article 2.5 "Share Transfer": "On each exercise of the option by Party A, within
 ten working days from the date of receipt of the exercise notice sent by Party A
 pursuant to Article 2.4 of this Agreement, (1) the Granting Party shall urge NQW to
 convene a shareholders' meeting in time, at which meeting the resolution shall be
 passed to approve the Granting Party to transfer the shares to Party A and (or) its
 designated third party .... .."


     Article 3 .1 "The Granting Party represents and warrants as follows": " ..... .";


     Article 8.1 "Entire Agreement": "The parties hereby acknowledge this Agreement
 is the fair and reasonable agreement reached by them on basis of equality and mutual
 benefit. This Agreement constitutes the entire agreement of the parties regarding the
 subject matter hereof and, in the event of any inconsistency between all prior
 discussions, negotiations or agreements and this Agreement, the latter shall prevail.
 This Agreement shall, from its effectiveness date, supersede the original Share
 Disposal Agreement. Amendments to this Agreement, if any, shall be made in writing
 and signed by all parties of the Agreement. The attachments to this Agreement are an
 integral part of and are of equal effectiveness as this Agreement";


     Article 8.2.2 "Notices and letters shall be deemed as given": "on the sign-in date
 in the event of delivery in person (including express mail) (Article 8.2.2.2);




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     On January 10, 2019, China AI (as Party A), LMI (as Party B), NQ (as Party C),
 NQW (as Party D), Shi Wenyong and Zhou Xu (as Party E collectively) signed the
 Agreement. The key clauses of the Agreement are as follows:


     Article 1: "Effective from the exit date (January 9, 2019) of Party B, any changes
 to Party C and Party D, including but not limited to shareholding changes, shareholder
 replacements, legal representative replacements, changes of directors, senior
 executives and supervisors, changes of registered address, business scope or
 registered capital, or investments, profit distributions, dissolution liquidation, etc.,
 shall be subject to the unanimous written consent of Party A and Party B, or any such
 changes shall be void and invalid and may not be implemented by Party C, Party D
 and Party E";


     Article 2: "Effective from the exit date (January 9, 2019) of Party B, all matters
 involving performance, change or termination of the "VIE Agreements" among Party
 C, Party D and Party E (including but not limited to exercise of share option, share
 transfer, loan payment, business management, convening shareholders' meetings and
 board meetings as authorized, etc.) shall be subject to the unanimous ,vritten consent
 of Party A and Party B, or shall be void and invalid and may not be implemented by
 Party C, Party D and Party E";


     Article 4: "The arbitration authority set forth in the 'VIE Agreements' signed by
 Party C, Party D and Party E (incorporating the "Amended and Restated Loan
 Agreement", the "Re-amended and Restated Business Management Agreement" and
 the Letter of Authorization attached thereto, the "Amended and Restated Share
 Disposal Agreement" and the "Share Transfer Agreement" attached thereto) is
 changed from China International Economic and Trade Arbitration Commission to
 Beijing Haidian District People's Court in the place of location of Party C and Party D,
 and all disputes regarding the 'VIE Agreements" shall be referred to and be subject to
 jurisdiction of Beijing Haidian District People's Court".


     On July 22, 2019 and September 10, 2019, the Claimant sent two Exercise
 Notices to the Defendants by express mail, whilst informing the Defendants by SMS
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 and email, reminding it to receive the notices. In the first Exercise Notice, the
 Claimant demanded the Defendants to transfer the entire 48% shares ofNQW held by
 the Defendants to the designated transferee, to cooperate in holding a shareholders'
 meeting to approve the share transfer, sign the share transfer agreement and fulfill the
 change registration with the administration for industry and commerce; in the second
 Exercise Notice, the Claimant informed the Defendants that the Claimant had signed
 the Share Transfer Agreement with the designated transferee for and on behalf of the
 Defendants based on the Letter of Authorization the Defendants had issued to the
 Claimant, and required the Defendants' cooperation in the procedure for change
 registration with the administration for industry and commerce.

     The Defendants failed to transfer the shares and cooperate m the change
 registration with the administration for industry and commerce within the specified
 period as required by the Claimant, and the Claimant then instituted the arbitration
 proceedings hereof.


      (III)F ocal Issue

     In the tribunal's view, the focal issue of the present case is whether the Agreement
 constitutes a change of the Share Disposal Agreement.


     As stated hereinabove, the Claimant has raised the arbitratiora application based
 on the Share Disposal Agreement, while t½,e Defendants have asserted the Claimant's
 request for option exercise is void and invalid. It has been found that the parties
 signing the Share Disposal Agreement are not-the same as those of the Agreement.
 The Share Disposal Agreement provides that Shi Wenyong, Zhou Xu and Guo
 Lingyun grant an unlimited option to the Claimant, i.e. NQ, whereby NQ or its
 designated third party may buy from time to time all the NQW shares held by the said
 three persons. The key backdrop of the arrangement is that the parties have signed a
 series of VIE agreements for the purpose of realizing overseas listing in order to
 enable the listed company to have agreements-based control over the major business
 entities in China. The agreements include the "Exclusive Consulting and Service
 Agreement" between NQW and NQ; the "Loan Agreement" and the "Share Pledge
 Agreement" between NQ and Shi Wenyong, Zhou Xu, Guo Lingyun, whereby the
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 three persons pledged all their NQW sharesto secure NQW's performance of the
 obligations under the Exclusive Consulting and Service Agreement; and the Share
 Disposal Agreement between NQW, NQ and Shi Wenyong, Zhou Xu, Guo Lingyun.
 The Agreement was signed on the day immediately following LMI's exit from the
 stock market, the key content of which is to set restraint over all matters between NQ,
 NQW and Shi Wenyong, Zhou Xu, i.e. the Defendants here, regarding performance,
 change and termination of the VIE agreements including the Share Disposal
 Agreement, that is, all such matters shall be void and invalid unless with the
 unanimous written consent of China AI and LMI.


     In the tribunal's opm10n, although the compames and the natural persons
 concerned are of shareholding relations, they are nevertheless independent
 corporations or natural persons at law regardless whether they have concord or
 inconsistent interests at different points of time because of changes of control, they
 have independent personalities and wills, and their rights and obligations under
 different agreements shall be judged and identified respectively in strict compliance
 with the underlying agreements. In the present case, NQ, although being a signing
 party of the Share Disposal Agreement and the Agreement, its rights and obligations
 under the different agreements involve different opposite parties. Under the Share
 Disposal Agreement, the opposite party of NQ's exercise of the share option is Shi
 Wenyong, Zhou Xu and Guo Lingyun. The said three persons jointly hold 100%
 shares of NQW and they collectively appear as Party B in the agreement. Although
 NQ may exercise its option either in part or in entirety, Shi Wenyong, Zhou Xu and
 Guo Lingyun jointly, as a whole and indivisibly bear the obligation to grant the option
 and to cooperate in option exercise; under the Agreement, NQ has undertaken to limit
 its exercise of the share option under the Share Disposal Agreement to Shi Wenyong
 and Zhou Xu exclusively. The Agreement has been established for the purpose of
 setting restrictions over performance, change and termination of the VIE agreements,
 including the Share Disposal Agreement, while Guo Lingyun, although still holding
 52% shares ofNQ and being a party of the underlying VIE agreements, was excluded
 from the signing parties of the Agreement.

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     According to the tribunal, the restraints imposed by the Agreement may have
 physically prevented NQ from exercising its substantive rights under the Share
 Disposal Agreement, while any restraints over the relevant obligations of the Granting
 Party under the Share Disposal Agreement shall be disposed of by Party B, i.e. Zhou
 Wenyong, Zhou Xu and Guo Lingyun, depending on their joint intent. The
 Defendants have pointed out that the Agreement is binding upon the signing parties
 only, the Agreement shall be applicable to the Claimant's claim of option exercise
 upon Shi Wenyong and Zhou Xu, and the fact that Guo Lingyun is not a signing party
 of the Agreement shall not affect effectiveness and applicability of the Agreement.
 The tribunal's view in that regard is that, considering the general business background
 of the trading arrangement concerned and the detailed facts of performance, the
 relevant content in the Agreement shall not be held to be of legal effectiveness upon
 performance of Shi Wenyong and Zhou Xu of their obligations under the Share
 Disposal Agreement. The Share Disposal Agreement is a basic agreement in the VIE
 framework concerned, Shi Wenyong, Zhou Xu and Guo Lingyun, as all shareholders
 of NQ, have jointly promised to unconditionally cooperate in NQ's share repurchase,
 which is of important significance to security of investors' funds and stability of the
 VIE structure and control of the company. As stated hereinabove, Shi Wenyong, Zhou
 Xu and Guo Lingyun are an integral party jointly bearing the contractual obligations
 under the Share Disposal Agreement, unilateral refusal of performance or attempt to
 overturn the obligations by any of the three persons may possibly result in substantial
 effects on the entire VIE structure and on attainment of the goal of the contracting
 parties, and any agreement that any of the persons individually reached with a third
 party for the said purpose cannot have any effectiveness against the obligations under
 the Share Disposal Agreement. The Defendants' proposition in that regard is
 unjustifiable.                                                                    ~    ,
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     The tribunal also opines that, according to Article 8.1 of the Share Disposal
 Agreement, "Amendments to this Agreement, if any, shall be made in writing by the
 parties thereto", which shall similarly be understood as that the amendments shall be
 made in writing by all parties of the Share Disposal Agreement jointly. Based on the
 aforesaid analysis, the tribunal holds the view that, without participation and
 expression of opinion by Guo Lingyun, the Agreement shall not be identified as a
 change of the Share Disposal Agreement. The tribunal further holds that, without Guo

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 Lingyun's involvement and express of attitude, Article 4 of the Agreement, which
 changes the agreed arbitration authority, shall similarly be without effectiveness at
 law.
        (IV)The Claimant's Arbitration Claims


        1. Claim 1 and Claim 2


        According to Section 60 of the Contract Law, a party of an agreement shall fully
 perform its obligations thereunder as agreed. According to Section 107, when either
 party fails to perform its contractual obligations or its performance of the obligations
 is inconsistent with what has been agreed upon, the party shall bear responsibility for
 the default, including continuing performance, taking remedial measures or
 compensating losses, etc. In the tribunal's view, the Claimant's arbitration claim
 demanding the Defendants to make share transfer to the designated third parties
 respectively meets the requirements of the above-cited legal provisions and the
 pertinent covenants in the Share Disposal Agreement.


        The Defendants have argued that the Claimant is not an eligible party and has no
 right to raise the arbitration application. In the tribunal's opinion, according to Article
 1.1 of the Share Disposal Agreement, the Claimant is entitled to the share option, and
 its arbitration application is exactly a request for exercise of the agreed option. The
 present case does not fall in the category of the so-called subrogation actions. The
 Defendants' argument in that regard is unjustifiable.     , I\~ fJ   r   ,   ~"
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        The Defendants have pointed out that the shares in question have been pledged,
 of which the shares held by Shi Wenyong have been sealed up by courts and are to be
 enforced through auction, and the Claimanfs option exercise request is in fact
 non-performable. The tribunal's view is that the present case does not fall in the
 category of such situations where non-monetary obligations cannot be effectively
 performed as specified in Section 110 of the Contract, for instance, the object of
 performance has been destroyed or lost. The Defendants' argument in that regard is
 groundless.


        The Defendants have argued that the share transfer shall, as required by the
 Company Law, be subject to notification of all other shareholders and solicitation of
 their opinion, the Claimant has demanded the option exercise but no shareholders'
 meeting has been convened to pass a resolution thereon. The tribunal's view is that,
 according to Article 2.5 of the Share Disposal Agreement, when the Claimant
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 demands exercise of the option, the Granting Party, including the Defendants, shall
 urge NQW to convene a shareholders' meeting to pass the resolution approving the
 share transfer. That is something the Defendants are supposed to cooperate in and
 shall not affect the Claimant's raising of the exercise request. The Defendants'
 argument in that regard is unjustifiable.


     In view of the foregoing, the tribunal decides to support the first and the second
 arbitration claim of the Claimant.


     2. Claim 3


     Based on the above-stated conclusion and Article 2.5 of the Share Disposal
 Agreement, among other relevant covenants, the Defendants are obliged to cooperate
 with the Claimant in the procedure for change registration with the administration for
 industry and commerce for the purpose of title transfer of the shares. The tribunal
 decides to support the third arbitration claim of the Claimant.


     3. Claim 4


     The Claimant has not claimed the amount of attorney 's fee to be borne by the
 Defendants, nor produced any underlying evidence. The Tribunal therefore decides
 not to support the fourth claim of the Claimant.


     (V) Arbitration Fee
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     Depending on the circumstances of the present case, the tribunal decides that the
 arbitration fee shall be fully borne by the Defendants jointly.     ,...
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                                             III.Award


     The tribunal hereby gives its award as follows:




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     1. Defendant 1 shall transfer the shares it holds in Beijing NQ World Technology
 Co., Ltd. to the third parties designated by the Claimant, namely Guo Lilin (ID Card
 No: 330121197006059712) and Guo Lingyun (ID Card No: 360121197603280525),
 including 10.325% to be transferred to Guo Lilin and 4.425% to Guo Lingyun.


     2. Defendant 2 shall transfer the shares it holds in Beijing NQ World Technology
 Co., Ltd. to the third parties designated by the Claimant, namely Guo Lilin (ID Card
 No: 330121197006059712) and Guo Lingyun (ID Card No: 360121197603280525),
 including 23.275% to be transferred to Guo Lilin and 9.975% to Guo Lingyun.


     3. The Defendants shall cooperate in the procedure for change registration with
 the administration for industry and commerce for the purpose of title transfer of the
 shares.


     4. All other arbitration claims of the Claimant are dismissed.


     5. The arbitration fee, being RMB¥ 249,550, shall be fully borne by the
 Defendants. The Claimant has advanced the arbitration fee to the arbitration
 commission in full, so the Defendants shall r pay RMBY249,550 to the Claimant as
 reimbursement of the payment advanced by the Claimant.
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     The above shall be fully performed within 30 days from the date of issue of this
 Award.


     This Award is final and conclusive and hall take effect on the date of issue.




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    (It is intentionally left blank hereinafter)




                    Chief Arbitrator: Kou Liyun



                    Arbitrator: Tian Hui



                    Arbitrator:Zhang Guoming



                    (seal) China International Ec@nomic and Trade Arbitration

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